Case 1:20-cv-00272-TH-CLS Document 12 Filed 11/04/21 Page 1 of 1 PageID #: 55



                           IN THE UNITED STATES DISTRICT COURT

                            FOR THE EASTERN DISTRICT OF TEXAS

                                       BEAUMONT DIVISION

ANTHONY HOUSTON                                       §

VS.                                                   §           CIVIL ACTION NO. 1:20-CV-272

WARDEN, FCI BEAUMONT LOW                              §


                  MEMORANDUM ORDER ADOPTING THE MAGISTRATE
                     JUDGE’S REPORT AND RECOMMENDATION

        Petitioner, Anthony Houston, an inmate formerly confined at FCI Beaumont, proceeding pro

se, brings this petition for writ of habeas corpus pursuant to 28 U.S.C. § 2241.

        The court referred this matter to the Honorable Christine Stetson, United States Magistrate

Judge, at Beaumont, Texas, for consideration pursuant to applicable laws and orders of this court.

The Magistrate Judge recommends this petition be dismissed as moot (Doc. #10).

        The court has received and considered the Report and Recommendation of United States

Magistrate Judge filed pursuant to such order, along with the record, and pleadings. No objections

to the Report and Recommendation of United States Magistrate Judge have been filed to date. 1

                                                 ORDER

        Accordingly, the findings of fact and conclusions of law of the Magistrate Judge are correct,
and the report of the Magistrate Judge is ADOPTED. A Final Judgment will be entered in this case

in accordance with the Magistrate Judge’s recommendations.

        SIGNED this the 4 day of November, 2021.




                                         ____________________________
                                         Thad Heartfield
                                         United States District Judge


        1
          A copy of the Report and Recommendation was returned as undeliverable on November 1, 2021 with the
notation Petitioner was released (Doc. #11).
